UNITED STATES DISTRICT COURT EASTERN DISTRICT "
OF TENNESSEE, AT KNOXVILLE

PAUL MILLER, individually and on )
behalf of all others similarly situated, ) t
) Civ. Action No. 3-02-CV-644
Plaintiff, )
)
)
M.E. RATLIFF, and )
TENGASCO, INC. )
)
Defendants. )

ORDER AND FINALJUDGMENT
On this 29*1‘ day of April, 2004, a hearing (the "Settlement Hearing") as

 

held before this Court to determine: (1) Whether the terms and conditions of the
Stipulation of Settlement, dated ]anuary 14, 2004 (the "Stipulation"), a copy of
Which has been previously filed herein, are fair, reasonable and adequate for the
settlement of all claims asserted by the Class against Defendants in the Amended
Complaint (“Complaint") now pending in this Action, including the release of
Defendants and the Released Parties, should be approved; (2) Whether judgment
should be entered dismissing the Complaint on the merits and With prejudice in
favor of Defendants and as against all persons or entities Who are members of the
Class herein Who have not requested exclusion therefrom; (3) Whether to
approve the Plan of Allocation as being fair and reasonable and in the best
interests of the Class,' (4) Whether the securities to be issued to the Class are
exempt from the registration requirements pursuant to Section 3(a)(10) of the
Securities Act of 1933; and (5) Whether Plaintiff's Counsel’s fee and expense
application should be approved by the Court and in What amount to award
Plaintiff’s Counsel fees and reimbursement of expenses The Settlement Hearing

Was held pursuant to the Order For Notice And Hearing.

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The Court considered all matters submitted to it at the Settlement Hearing
and otherwise.

The Court considered and determined the fairness and reasonableness of
the Plan of Allocation and the award of attorneys' fees and expenses requested

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

1. Capitalized terms used herein have the same meaning as in the
Stipulation of Settlement.

2. The Court has jurisdiction over the subject matter of the Action and
over all parties to the Action, including all Class Mernbers. The Court is a proper
and convenient venue for the consideration, approval, and administration of the
Settlement

3. The Settlement Notice was disseminated in accordance with the
Notice Order, and the Publication Notice was published in accordance with that
Order. The notice given was the best notice to the Class practicable under the
circumstances, and provided due and adequate notice of the Settlement and
Settlement Hearing, and all other matters set forth herein to all persons entitled
to notice, and satisfied the requirements of Rule 23 of the Federal Rules of Civil
Procedure and the requirements of due process.

4. Pursuant to Rule 23(e) the Settlement and Stipulation are approved
as fair, reasonable and adequate, and in the best interests of the Class, and the
Class Members and the parties are directed to consummate the Stipulation in
accordance with its terms and provisions

5. The Class is defined as and includes all persons or entities who
purchased the common stock of Tengasco, Inc. (”Tengasco”) during the period
August 1, 2001 through and including April 22, 2002, and Were damaged
thereby. Excluded from the Class are Defendants herein,' members of the
immediate family of Defendant M.E. Ratliff; the current directors and officers of

Tengasco; the former directors and officers of Tengasco during the Class Period;

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any corporation, firm, partnership, trust or other person affiliated with any of the
foregoing; and the legal representatives, agents, heirs, successors-in-interest or
assigns of any excluded person and the persons listed on Exhibit A hereto, who
have timely requested exclusion.

6. The Court certifies the Class for purposes of the Settlement and
finds that the prerequisites to a class action under F.R.Civ.P. 23 (a) and (b)(3)
have been satisfied in that: (a) the number of Class Members is so numerous that
joinder of all members thereof is impracticable; (b) there are questions of law and
fact common to the Class; (c) the claims of the Class Representative are typical of
the claims of the Class he Seel<s to represent,' (d) the Class Representative will
fairly and adequately represent the interests of the Class,' (e) the questions of law
and fact common to the members of the Class predominate over any questions
affecting only individual members of the Class; and (f) a class action is superior
to other available methods for the fair and efficient adjudication of the
controversy.

7 . This cause is hereby dismissed with prejudice and there will be no
assessment of costs.

8. Class Members and the successors and assigns of any of them, are
hereby permanently barred and enjoined from instituting, commencing or
prosecuting any Settled Claims against any of the Released Parties. The Settled
Claims of Class Members are hereby compromised, settled, released, discharged
and dismissed as against the Released Parties on the merits and with prejudice
by virtue of the proceedings herein and this Order and Final judgment

9. Neither the Settlement nor the Stipulation, nor any of its terms and
provisions, nor any of the negotiations or proceedings connected with it, nor any
of the documents or statements referred to therein shall be:

(a) offered or received against Defendants in any civil, criminal,

or administrative action or proceeding as evidence of or construed as or deemed

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to be evidence of any presumption, concession, or admission by any of
Defendants of the truth of any fact alleged in the Action or the validity of any
claim that had been or could have been asserted in the Action or in any litigation,
or the deficiency of any defense that has been or could have been asserted in the
Action or in any litigation, or of any liability, negligence, fault, or wrongdoing of
Defendants; and

(b) offered or received against Lead Plaintiff or the Class as
evidence of any infirmity in the claims of Lead Plaintiff and the Class.

10. The Court hereby approves the Plan of Allocation as set forth in the
Settlement Notice as fair and reasonable and in the best interests of the Class.
11. The Court finds:

(a) The Court has held a Final Settlement Hearing to approve
the fairness of the terms and conditions of the Settlement;

(b) The members of the Class were given adequate notice of the
Final Settlement Hearing and such Hearing was open to any and all members of
the Class and there were no improper impediments to the appearance of
members of the Class at the Hearing. No such person has appeared or objected
to the fairness of the Settlement or the issuance of the securities;

(c) The terms and conditions of the Settlement are fair both
procedurally and substantively to the members of the Class to whom the
securities are to be issued ,'

(d) The Court was made aware prior to the Final Settlement
Hearing that the issuer(s) would seek to rely on the Section 3(a)(10) exemption,'
and

(e) The Court further finds that the parties have stipulated that,
to the extent allowed by law, the securities to be issued as part of this Settlement
are exempt from the registration requirements pursuant to Section 3(a)(10) of the

Securities Act of 1933.

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12. Plaintiff’s Counsel are hereby awarded the sum of $12,500 plus all
accrued interest thereon, 83,333 shares of Miller Petroleum, Inc., 43,290 shares of
Tengasco and 33,333 Tengasco warrants (subject to adjustment to reflect the
recent Tengasco rights offering) as the Fee Award. This is equivalent to 33'/3% of
the Settlement Consideration, which sum the Court finds to be fair and
reasonable, and $8,642.93 in reimbursement of expenses (including the expenses
of experts and consultants), which shall be paid to Plaintiff’s Co-Lead Counsel
from the Settlement Fund with interest from the date such Settlement Fund Was
funded to the date of payment at the same rate that the Settlement Fund has
earned. The award of attorneys' fees shall be allocated among Plaintiff’s Counsel
in a fashion which, in the opinion of Plaintiff’s Co-Lead Counsel, fairly
compensates each of Plaintiff’s Counsel for their respective contributions in the
prosecution of the litigation,

13. Payment of the Fee Award and reimbursement of expenses to
Plaintiff’s Counsel from the Settlement Fund shall be made, as soon as
practicable, but no more than three (3) business days, after the entry of this Order
and Final ]udgment. The Court finds that such award is reasonable and
appropriate in light of the quality of work performed, the result achieved and the
complexity and difficulty of the Action.

14. Any expenses of notice, publication, or administration of the
Settlement not heretofore paid or provided for shall be paid out of the cash
portion of the Settlement Fund, without further order of the Court, but subject to
Court review. Defendants shall not be responsible for any further expenses to
the Plaintiff, the Class, and / or their attorneys or agents.

15. The Court hereby retains exclusive jurisdiction over Defendants,
Lead Plaintiff, and the Class Members for all matters relating to this Action,
including the administration, interpretation, effectuation or enforcement of the

Stipulation and this Order and Final ]udgment, and including any application for

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fees and expenses incurred in connection With administering and distributing the
settlement proceeds to the members of the Class.

16. If the Settlement does not become Final in accordance With the
terms of the Stipulation, then this Order and Final ]udgment shall be rendered
null and void and shall be vacated and, in such event, all orders entered in
connection therewith shall be vacated and rendered null and void. However, any
appeal of the Plan of Allocation, attorneys' fees or costs and expenses shall not
prevent the Settlement from becoming effective.

17. This ]udgment constitutes the final discharge of all obligations of
Defendants to the Class arising out of the Action. This ]udgment serves to bar all
claims, Whether by Way of contribution or otherwise, by any person against
Defendants or any of the Released Parties to recover any portion of any
judgment, award, liability or loss arising from any action or proceeding in Which
a Class Member seeks to recover based on his purchase, sale, or holding of
common stock of Tengasco between August l, 2001 and April 22, 2002, provided
that nothing herein shall serve to release claims belonging to Tengasco itself,
Whether asserted directly or derivatively.

18. Without further order of the Court, the Parties may agree to
reasonable extensions of time to carry out any of the provisions of the

Stipulation.

DATED: Knoxville, Tennessee

2004

UNITED STATES DISTRICT ]UDGE

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EXHIBIT A

 

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